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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
MICHELLE MOTA,                                                         :
                                                                       :
                                    Plaintiff,                         :     21 Civ. 5067 (JPC)
                                                                       :
                  -v-                                                  :           ORDER
                                                                       :
MARK CAMPBELL,                                                         :
                                                                       :
                                    Defendant                          :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court is in receipt of Plaintiff’s motion for default judgment. Dkt. 12. While Plaintiff

requested a Clerk’s certificate of default, Dkts. 9-10, none was issued. As a result, Plaintiff’s

service on Defendant of the default judgment papers failed to fully comply with Local Rule 55.2,

because those papers did not include a certificate of default. See S.D.N.Y. Loc. R. 55.2(b)

(providing that an application for a default judgment shall include, inter alia, “the Clerk’s certificate

of default”); S.D.N.Y. Loc. Civ. R. 55.2(c) (providing that, unless otherwise ordered, papers

submitted pursuant to Local Rule 55.2(b) “shall simultaneously be mailed to the party against whom

a default judgment is sought”). The Court therefore adjourns the default judgment conference until

November 17, 2021 at 10:30 a.m. At the scheduled time, counsel for all parties should call (866)

434-5269, access code 9176261.

        The Court expects that a certificate of default will be issued shortly. After the certificate of

default is issued, Plaintiff shall serve Defendant with its papers in support of default judgment,

including this Order and the issued certificate of default, in compliance with Local Rule 55.2.

Plaintiff shall file proof of service on the docket by November 5, 2021.
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      SO ORDERED.
                                          __________________________________
Dated: November 2, 2021
       New York, New York                         JOHN P. CRONAN
                                                United States District Judge




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